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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

                                )
ASTRAZENECA PHARMACEUTICALS )
LP and ASTRAZENECA AB,          )
                                )
              Plaintiffs,       )
                                )
              v.                )                Civil Action No. 23-931-CFC
                                )
XAVIER BECERRA, in his official )
capacity as SECRETARY OF HEALTH )
AND HUMAN SERVICES,             )
                                )
              and               )
                                )
CHIQUITA BROOKS-LASURE,         )
in her official capacity as     )
ADMINISTRATOR OF THE            )
CENTERS FOR MEDICARE &          )
MEDICAID SERVICES,              )
                                )
              Defendants.       )
                                )

                            NOTICE OF APPEAL

      Notice is hereby given that Plaintiffs AstraZeneca Pharmaceuticals LP and

AstraZeneca AB hereby appeal to the United States Court of Appeals for the Third

Circuit from the Court’s March 1, 2024 Memorandum Opinion (D.I. 70), Order

denying Plaintiffs’ motion for summary judgment and granting Defendants’ cross-

motion for summary judgment (D.I. 71), and corresponding Judgment (D.I. 72), and



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from all orders, opinions, decisions, and rulings prior to the entry of the order that

merge therein.

                                              Respectfully submitted,

Dated: April 29, 2024                         McCarter & English, LLP

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